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UNITED STATES Dl'STRlCT COURT
SOUTHERN DlS'l`RlCT ()F NEW YORK

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WESTPORT MANAGEMENT, LLC,

 

VERIFIED C()MPLAINT
Plaintiff,

-»against~

OSRAM SYLVANIA PRODUCTS, INC.; s
SKLAR PURCHASING CORP. as successor of J. SKLAR
MANUFACTURING CO. INC.; QUALITY BUS SALES
AND SERVICE, lNC.,

Defendants.
________________________ ____ x
Plaintiff, Westport Management lnc., as its complaint against Defendants Osrarn

 

Sylvania Products, lnc., Sklar Purchasing Corporation, as successor of J. Sklar Manufacturing
Co., Inc., and Quality Bus Sales and Services, lnc. (collectively, “Defendants”), alleges as
follows:
PRELIMINARY STATEMENT

l. This action is brought pursuant to the Comprehensive Environmental Response,
Compensation and Liability Act (“CERCLA”), 42 U.S.C. §9601 et. seq. as amended by the
Superfund Amendments and Reauthorization Act of 1986, and the common law of the State of
New York governing nuisance and successor liability

2. Plaintiff seeks:

a. recovery of necessary costs of response resulting from the release of

hazardous substances at and from the premises known as 201 Charles Street, Maybrook, New

York (“the Site”);

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b. a judgment under CERCLA, 42 U.S.C. §9613 (l), for Defendants’
respective Fair Share of all costs which Plaintiff has incurred, or will incur, relating to the release
of hazardous substances at the Site;

c. a declaratory judgment under CERCLA, 42 U.S.C. §9613 (g) (2), that
Det`endants are strictly, jointly and severally liable for all costs which Plaintiff has incurred or
will incur as necessary costs cf response; and

d. damages and injunctive relief under New York State common law
resulting from the release of hazardous substances at the Site.

JURISDICTI()N AND VENUE

3. 'l`his Court has jurisdiction over the causes of action arising under CERCLA
pursuant to 28 U.S.C. §1331 and 42 U.S.C. §9613(b), and has supplemental jurisdiction over the
claims arising under the common law of the State of New York pursuant to 28 U.S.C. §l367(a).

4. Venue lies in this judicial district, pursuant to 28 U.S.C. §1391(b) and 42 U.S.C.
§96l3 (b), because the release of hazardous substances occurred and are occurring within this
judicial district in the Village of Maybrook, County of Orange, State ofNew York.

THE PARTIES

5. Plaintiff, Westport Management, LLC (“Westport”) is a New York limited
liability company, and is the owner of the Site.

6. Defendant Sklar Purchasing Corporation (“Sklar Purchasing”) as successor of
Sklar l\/lanufacturing Co., lnc. (“Sklar Manufacturing”) is a business corporation with its
principal business address at 889 South l\/latlack Street, Westchester, Pennsylvania.

7. Defendant Osram Sylvania Products, lnc, (“Osrarn”) is a Delaware Corporation

with its principal business address at 200 Ballardville Street, Wilmington, Massachusetts.

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8. Defendant Quality Bus Sales and Service lnc. (“Quality Bus”) is a New York
Corporation with its principal business address at 2900 Route 9, Ballston Spa, New York.

9. Defendants are all previous owners or tenants of the Site, and have conducted,
directed, or otherwise been involved with business operation on the Site.

STATEMENT OF FACTS

 

l0. ln or about February 20l6, Westport discovered environmental contamination in
the soil and groundwater of the Site. The contamination consists of chlorinated solvents
including a substantial plume of Tetrachlorocthylene (“PCE”), Trichloroethene (“TCE”),
Dichloroethene (“1,2 DCE”), and l, l, l Trichloroethane (“l.l,l TCA”).

ll. Upon information and belief, chlorinated solvents such as those found on the Site
are commonly used as cleaning and degreasing agents in industries that manufacture and/or
maintain products or equipment with metal components

l2. in or about the 19705 and 19803, Sklar Manufacturing owned and operated the
subject property as a manufacturer and distributor of metal surgical instruments

13. Upon information and belief, Sklar l\/lanufacturing used PCE and other
chlorinated solvents on the Site as cleaning agents for its metal manufacturing

l4. Upon information and belief, in 1985, Sklar Purchasing purchased substantially

all of the assets of Sl<lar l\/lanufacturing, including its liabilities

l5. Upon information and belief, Sklar Manufacturing is no longer in existence

16. Upon information and belief, Sklar Purchasing is the successor entity to Sklar
Manufacturing.

l7. Defendant Osram owned and operated the Site as a manufacturer of lighting

products from approximately the mid-1980s to 2005.

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18. Upon information and belief, Defendant Osram used PCE and other chlorinated
solvents on the Site for cleaning the metal components of its lighting products

l9. Defendant Quality Bus was the sole tenant on the Site from February l, 2006
through January 31, 2016.

20. Defendant Quality Bus sold, manufactured, repaired, and maintained bus vehicles
on the Site.

21. Upon information and belief, Quality Bus used PCE and other chlorinated
solvents as cleaning and degreasing agents on the Site in connection with its selling,
manufacturing, repairing, and maintaining bus vehicles.

22. On or about September 2005, Westport acquired title to the Site.

23. Westport has never occupied the Site nor conducted any business operations on
the Site.

24. Upon Westport’s discovery of contamination on the Site it undertook steps to
conduct a voluntary clean-up of the Site.

25. On or about May 2016, Westport submitted a Site lnvestigation Report and
Proposed Remediation Plan (“Remediation Plan”) to the New York State Department of
Environmental Conservation (‘°DEC”). The Remediation Plan was approved and remediation
was conducted

26. Remediation at the Site is ongoing with Westport having discovered additional
contamination during the course of its remedial activities

27. To date, Westport has spent in excess of 3500,000.00 in remediating the

contamination on the Site, and remediation efforts are ongoing

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FIRST CLAIM - CERCLA 8107

28. Plaintiff repeats each and every allegation contained in paragraphs “l” through
“27” of this complaint as if fully set forth at this point.

29. The Site is a “facility” as that term is defined in Section 101 (9) of CERCLA, 42
U.S.C. §9601 (9).

30. Defendants are “persons” as that term is defined in Section 101 (21) of CERCLA,
42 U.S.C. §9601 (21).

31. Defendants disposed and/or arranged for disposal at the Site of wastes containing
hazardous substances, as that term is defined in section 101 (14) of CERCLA, 42. U.S.C. §9601
(14).

32. As defined in Section 101 (22) of CERCLA, 42 U.S.C. § (22), there has been a
release of hazardous substances into the environment

33. Plaintiff has incurred, and will continue to incur, costs of response to the release
of hazardous substances at and from the Sitc.

34. Defendants, and each of them are covered persons made liable by Section 107 (a)
of CERCLA, 42 U.S.C. §9607 (a), for all response costs of Plaintiff that have accrued or will
accrue

35. Defendants, and each of them, are strictly, jointly and severally liable for all past
and future response costs incurred by Plaintiff at the Site.

SECOND CLAIM - CERCLA §1]3

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36. Plaintiff repeats each and every allegation contained in paragraphs through

“35” of the complaint as if fully set forth at this point.

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37. Pursuant to Section 113 (f) (l) of CERCLA, 42 U.S.C. §9613 (f) (l), any person
may seek contribution from any other person who is liable or potentially liable under Section 107
(a) ol`CERCLA, 42 U.S.C, §9607 (a).

38. Plaintiff is a “person” within the meaning of Section 101 (21) and 113 (t) (l) of
CERCLA, 42 U.S.C. §§9601 (21) and 9613 (t) (1).

39. Defendants are liable or potentially liable under Section 107 (a) of CERCLA, 42
U.S.C. §9607 (a).

40. Pursuant to Sections 113 (t) (l) and (g) (2) of CERCLA, 42 U.S.C. §9613 (f) (1)
and (g) (2), Plaintiff is entitled to contribution from Defendants for any response costs incurred
and for any future response costs to be incurred in connection with the Site and to an allocation
by the Court of any such response costs and/or future response costs by Defendants using such
equitable factors as the Court determines are appropriate

THIRD CLAIM - COMMON LAW NUISANCE

41. Plaintiff repeats each and every allegation contained in paragraphs “l” through
“40” of the complaint as if fully set forth at this point.

42. Defendants’ disposal of hazardous materials at the Site has substantially interfered
with Plaintiffs’ right to use and enjoy its premises

43. Defendants’ conduct was intentional, reckless and/or negligent and was
unreasonable under all circumstances.

44. By virtue of defendants’ actions, they have created a nuisance on plaintiffs

premises

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WHEREFORE, Plaintiff prays judgment

a. On the first claim, for all necessary costs of response, including attorney
and expert fees and interest, incurred by Plaintiff in response to the release of hazardous
substances at and from the Site;

b. On the first claim, for declaratory relief, pursuant to 42 U.S,C.
§9613(g)(2), requiring Defendants, jointly and severally, to reimburse Plaintiff for all future
necessary of response costs relating to the release of hazardous substances at the Site;

c. On the second claim, pursuant to 42 U.S.C. 9613(t), for Defendants’
respective fair share of all response costs which plaintiffs have incurred, or will incur, relating to
the release and of hazardous substances at the Site;

d. On the third claim, for injunctive relief requiring Defendants to
completely abate the nuisance at the Site;

e. On the third claim, for incidental, consequential and compensatory
damages for all costs and expenses incurred by Plaintiff in abating the nuisance which exists at
the Site, in an amount to be determined at trial;

f. Together with such other and further relief, including court costs, attorney

and expert fees, as the Court deems just, proper and equitable.

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Dated: Walden,New York UKM j:€§ ft
March 13, 2018 g 7 j f M/~M\

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corporation in tire action herein

1 have read the annexed {:om;)laint dated iviarch I;Sr 2618, know the contents thereof and
the same are true to my knowledge except those matters therein which arc to be alleged on

information and bciief, and as to those matters 1 be§icve them to br true

      
      

 

  
 
    

 

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